                 Case:4:21-cv-04184-JSW
                 Case  23-15531, 04/10/2023, ID: 12692747,
                                          Document         DktEntry:
                                                     190 Filed       1-1, Page
                                                               04/10/23   Page11of
                                                                                 of33

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                             April 10, 2023


       No.:              23-15531
       D.C. No.:         4:21-cv-04184-JSW
       Short Title:      David Stebbins v. Karl Polano, et al


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.

       Appellants who are filing pro se should refer to the accompanying
       information sheet regarding the filing of informal briefs.
        Case:4:21-cv-04184-JSW
        Case  23-15531, 04/10/2023, ID: 12692747,
                                 Document         DktEntry:
                                            190 Filed       1-1, Page
                                                      04/10/23   Page22of
                                                                        of33




                     UNITED STATES COURT OF APPEALS
                                                                   FILED
                          FOR THE NINTH CIRCUIT
                                                                   APR 10 2023
                                                                  MOLLY C. DWYER, CLERK
                                                                   U.S. COURT OF APPEALS




 DAVID ANTHONY STEBBINS, DBA                  No. 23-15531
 Acerthorn,
                                              D.C. No. 4:21-cv-04184-JSW
              Plaintiff - Appellant,
                                              U.S. District Court for Northern
   v.                                         California, Oakland

 KARL POLANO, DBA Sofiannp;                   TIME SCHEDULE ORDER
 ALPHABET, INC.; DISCORD, INC.;
 FACEBOOK, INC.; AMAZON.COM,
 INC.; FREDERICK ALLISON, DBA
 InitiativeKookie; RAUL MATEAS,
 DBA TGP482,

              Defendants - Appellees.



The parties shall meet the following time schedule.

Fri., June 2, 2023            Appellant's opening brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.
Mon., July 3, 2023            Appellees' answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellees' brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
Case:4:21-cv-04184-JSW
Case  23-15531, 04/10/2023, ID: 12692747,
                         Document         DktEntry:
                                    190 Filed       1-1, Page
                                              04/10/23   Page33of
                                                                of33

                                      FOR THE COURT:

                                      MOLLY C. DWYER
                                      CLERK OF COURT

                                      By: John Brendan Sigel
                                      Deputy Clerk
                                      Ninth Circuit Rule 27-7
